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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 MSC MEDITERRANEAN SHIPPING
 COMPANY S.A.,
                                Plaintiff,
                                                          21 Civ. 7660 (JHR)
                        -v.-
                                                          ORDER
 BALTIC AUTO SHIPPING, INC., et al.,
                                Defendants.


JENNIFER H. REARDEN, District Judge:

       Following the conference held on March 7, 2023, the Court ordered the parties to submit

a joint letter describing, inter alia, the status of the Libyan proceeding and “[e]ach Defendant’s

position on the impact of a reversal of the Libyan judgment.” ECF No. 146. In the joint letter,

Defendants stated that they “believe that a reversal of the Libyan judgment would resolve all

claims in this action and prevent MSC from recovering any claimed damages from them.” ECF

No. 149 at 3. Plaintiff, however, claims it “has already sustained damages[,] . . . including but

not limited to the costs incurred in having to defend the Libyan proceeding.” Id. Although

Defendants Baltic Auto Shipping, Inc.; Trips Logistics Corp.; International Auto Group Inc.;

Marine Transport Logistics, Inc.; and Baltic Auto Shipping, Corp. (collectively, the “Transport

Defendants”) indicated they “w[ould] be submitting a joint response,” id. at 1, that joint response

has not been filed.

       By May 17, 2023, the Transport Defendants shall submit their joint response. The

Transport Defendants are encouraged to present authorities showing the extent to which Courts

stay indemnity actions before issuance and/or payment of a final judgment. While Defendant

Trips Logistic Corp.’s original motion, ECF No. 131, argues that the Court can stay this case on

prudential ripeness grounds, its lead case, Ocean World Lines, Inc. v. Unipac Shipping, Inc.,
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addresses dismissal of a case for lack of prudential ripeness. No. 13 Civ. 740, 2016 WL

5339408, at *5 (S.D.N.Y. Mar. 14, 2016).

       Plaintiff’s reply, if any, shall be filed by May 22, 2023.

       SO ORDERED.

Dated: May 8, 2023
       New York, New York


                                                                    JENNIFER H. REARDEN
                                                                    United States District Judge




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